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 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                            CASE NO. 1:19-CR-00015-DAD-BAM
12
                                   Plaintiff,
13
                            v.                            SEALING REQUEST AND ORDER
14
     CONRADO VIRGEN-MENDOZA,
15
                                  Defendant.
16

17
            The United States of America, by and through its counsel of record, hereby moves to seal the
18
     attached Exhibit D to its Response in Opposition to Defendants’ Motion for Bail Review (Doc. 233), as
19
     it contains discovery in this case, which is subject to a protective order for good cause entered pursuant
20
     to Federal Rule of Criminal Procedure 16(d). (Doc. 74).
21

22
      Dated: March 25, 2019                                   MCGREGOR W. SCOTT
23                                                            United States Attorney

24
                                                       By: /s/ LAURA D. WITHERS
25                                                         LAURA D. WITHERS
                                                           Assistant United States Attorney
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          Case 1:19-cr-00015-TLN-BAM Document 239 Filed 03/27/19 Page 2 of 2

 1                                                ORDER

 2          Having reviewed the motion of the United States consistent with the previously-entered

 3 protective order (Doc. 74) in this case, and for good cause shown,

 4
     IT IS SO ORDERED.
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 6 Dated:     March 26, 2019                                   /s/   Sheila K. Oberto            .
                                                     UNITED STATES MAGISTRATE JUDGE
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